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 6
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 7   United States of America

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10                              UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
11

12    UNITED STATES OF AMERICA,                       No. 1:15-CR-00329 DAD
13                                  Plaintiff,
14                           v.                    STIPULATION TO CONTINUE SENTENCING
15    CHRISTOPHER VALDEZ,
16                                 Defendant.
17

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            IT IS HEREBY STIPULATED by and between McGregor W. Scott, United States
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     Attorney and Melanie L. Alsworth, Assistant U.S. Attorney, and Carol Moses, attorney for
21
     defendant, that the sentencing set for, February 11, 2019, at 10:00 am before the Honorable Dale
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     A. Drozd, U.S. District Court Judge, be continued to March 4, 2019 at 1:30 p.m.
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     Case 1:15-cr-00329-LL-BAM Document 136 Filed 01/25/19 Page 2 of 2


 1          Government Counsel was out of the office for an extended period of time due to a family

 2   emergency, and needs additional time to review the Presentence Report and submit informal

 3   objections, if appropriate, on or before January 28, 2019. Defense counsel does not object to this

 4   request.

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                                                           Respectfully submitted,
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     Dated: January 25, 2019                               McGREGOR W. SCOTT
 9                                                         United States Attorney

10                                                By       /s/ Melanie L. Alsworth
                                                           MELANIE L. ALSWORTH
11                                                         Assistant U.S. Attorney

12   Dated: January 25, 2019                               /s/ Carol Moses
                                                           CAROL MOSES
13                                                         Attorney for Defendant

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15                                               ORDER

16          For the reasons stated in the parties’ stipulation, the sentencing hearing scheduled for
17   Feburary 11, 2019, at 10:00 a.m. is hereby continued to March 4, 2019 at 1:30 p.m.
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     IT IS SO ORDERED.
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        Dated:     January 25, 2019
20                                                     UNITED STATES DISTRICT JUDGE
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